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                        UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

                                          )
  Venice PI, LLC et al.                   )   Case No.: 1:18-cv
                                          )   (Copyright)
                    Plaintiffs,           )
     vs.                                  )   DECLARATION OF WAYMOND
                                          )   NGAI
  DOE 1 et al.                            )
                                          )
                    Defendants.           )
                                          )
                                          )
                                          )
                                          )

                        DECLARATION OF WAYMOND NGAI

       WAYMOND NGAI, hereby declares under penalty of law that the following

 is true and correct:

       1.     I am an attorney licensed to practice in Hawaii and California. The

 Plaintiffs engaged me to conduct an investigation of the pirate application referred

 to as Showbox, Show Box and ShowBox, but referred to collectively below as

 “Show Box App”. I have personal knowledge of the matters stated herein.

       2.     I went to the website http://showboxappdownload.com/ on or about

 April 30, 2018.


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       3.     The website http://showboxappdownload.com included a link “RUN

 SHOWBOX ON YOUR PC”. I clicked on this link which brought me to the website

 http://showboxappdownload.com/run-show-box-on-your-pc/.

       4.     I followed the instructions on the RUN SHOWBOX ON YOUR PC

 website to install the android emulator Blue Stacks and ARC Welder.

       5.     I followed the instructions on the RUN SHOWBOX ON YOUR PC

 website to install the Show Box App. Specifically, I clicked on the link “Show Box

 APK” download which brought me to the website http://rawapk.com/showbox-apk-

 download/.

       6.     On the website http://rawapk.com/showbox-apk-download/ I clicked

 on the link “Download ShowBox .APK” which automatically downloaded the file

 ShowBox 5.03 .APK. (the “Show Box App”). I installed the Show Box App using

 the android emulator to stream on a PC computer according to the instructions RUN

 SHOWBOX ON YOUR PC website.                  The android emulator used for these

 screenshots was Blue Stacks.

       7.     After successful installation, I used the Show Box App to stream and

 download copies of motion pictures and related stock photos, some of which are

 shown in the below mentioned exhibits which are screenshots. The option to play

 the motion pictures in full screen was available but not used. An option to download




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 the movies was available for some of the motion pictures via Torrents, some of

 which are shown in the below mentioned exhibits.

       8.    Figure 1 below is a true and correct screenshot of the stock image of

 the motion picture A Family Man being downloaded by the Show Box App.




       Figure 1

       9.    Figure 2 below is a true and correct screenshot of the stock image of

 the motion picture Singularity being downloaded by the Show Box App.




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       Figure 2

       10.   Figure 3 below is a true and correct screenshot of the stock images of

 the motion pictures London has Fallen and Mr. Church being downloaded by the

 Show Box App.




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       Figure 3

       11.   Figure 4 below is a true and correct screenshot of the stock images of

 the motion pictures A Family Man and Singularity after the download is complete

 by the Show Box App.




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       Figure 4

       12.   Figure 5 below are true and correct screenshots of the motion picture A

 Family Man being played from a downloaded copy from the Show Box App




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       Figure 5

       13.   Figure 6 below are true and correct screenshots of the motion picture

 Singularity being played from a downloaded copy by the Show Box App.




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       Figure 6

       14.   Figure 7 below are true and correct screenshots of the stock image and

 the motion picture A Family Man being streamed by the Show Box App.




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        Figure 7



                                       10
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        15.   Figure 8 below are true and correct screenshots of the stock image and

  the motion picture American Heist being streamed by the Show Box App.




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        Figure 8

        16.   Figure 9 below are true and correct screenshots of the stock image and

  the motion picture Automata being streamed by the Show Box App.

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        Figure 9

        17.   Figure 10 below are true and correct screenshots of the stock image and

  the motion picture Colossal being streamed by the Show Box App.




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        Figure 10

        18.   Figure 11 below are true and correct screenshots of the stock image and

  the motion picture Criminal being streamed by the Show Box App.

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        Figure 11



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        19.   Figure 12 below are true and correct screenshots of the stock image and

  the motion picture Dallas Buyers Club being streamed by the Show Box App.




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        Figure 12



                                       21
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        20.   Figure 13 below are true and correct screenshots of the stock image and

  the motion picture Good Kill being streamed by the Show Box App.




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        Figure 13

        21.   Figure 14 below are true and correct screenshots of the stock image and

  the motion picture Hitman’s Bodyguard being streamed by the Show Box App.




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        Figure 14

        22.   Figure 15 are true and correct screenshots of the stock image and the

  motion picture I.T. being streamed by the Show Box App.




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        23.   Figure 15

        24.   Figure 16 below are true and correct screenshots of the stock image and

  the motion picture London Has Fallen being streamed by the Show Box App.

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        Figure 16




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        25.   Figure 17 shown below are true and correct screenshots of the stock

  image and the motion picture Navy Seals vs Zombies being streamed by the Show

  Box App.




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        Figure 17

        26.   Figure 18 below are true and correct screenshots of the stock image and

  the motion picture Playing It Cool being streamed by the Show Box App.

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        Figure 18

        27.   Figure 19 shown below are true and correct screenshots of the stock

  image and the motion picture Singularity being streamed by the Show Box App.




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        Figure 19

        28.   Figure 20 shown below are true and correct screenshots of the stock

  image and the motion picture The Cobbler being streamed by the Show Box App.




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        Figure 20




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        29.   Figure 21 shown below are true and correct screenshots of the stock

  image and the motion picture Vengeance A Love Story being streamed by the Show

  Box App.




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        Figure 21




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        30.   Figure 22 shown below are true and correct screenshots of the stock

  image and the motion picture Once Upon a Time in Venice being streamed by the

  Show Box App.




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        Figure 22


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